                                      Case 19-50417              Doc 1        Filed 04/23/19           Page 1 of 52

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  70 Pitts School Rd. NW                                          PO Box 1270
                                  Concord, NC 28027-0302                                          Harrisburg, NC 28075
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cabarrus                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       butlerbuilt.net


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 19-50417               Doc 1         Filed 04/23/19              Page 2 of 52
Debtor    Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                        Case number (if known)
          Equipment, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                     Case 19-50417                 Doc 1        Filed 04/23/19            Page 3 of 52
Debtor   Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                     Case number (if known)
         Equipment, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 19-50417                Doc 1        Filed 04/23/19             Page 4 of 52
Debtor    Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                    Case number (if known)
          Equipment, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 23, 2019
                                                  MM / DD / YYYY


                             X   /s/ Brian T. Butler                                                      Brian T. Butler
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Kristen Nardone                                                       Date April 23, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kristen Nardone 28063
                                 Printed name

                                 Nardone Law, PLLC
                                 Firm name

                                 241 Curch St. NE
                                 Concord, NC 28025
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-784-9440                  Email address      kristen@davisnardone.com

                                 28063 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                          Case 19-50417                   Doc 1        Filed 04/23/19            Page 5 of 52




 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 23, 2019                          X /s/ Brian T. Butler
                                                                       Signature of individual signing on behalf of debtor

                                                                       Brian T. Butler
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                               Case 19-50417               Doc 1         Filed 04/23/19                Page 6 of 52


 Fill in this information to identify the case:
 Debtor name Butler Specialties, Inc., T/A Butlerbuilt Motorsports
                    Equipment, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF NORTH                                                                                     Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bobby D. Hall                                                   Wages                                                                                                        $400.20
 6331 Kluttz Rd.
 Concord, NC 28025
 Brian T. Butler                                                 Wages                                                                                                      $1,100.00
 5315 Kim St. SW
 Concord, NC 28027
 Christopher A.                                                  Wages                                                                                                        $360.00
 Ferguson
 106 Dawn Dr.
 Mount Holly, NC
 28120
 Darrell E. Laney                                                Wages                                                                                                        $440.00
 2416 Community
 Park Dr.
 Matthews, NC 28104
 Debbie L. Helms                                                 Wages                                                                                                        $308.85
 5315 Kim St. SW
 Concord, NC 28027
 Eric T. Speas                                                   Wages                                                                                                        $348.00
 4188 Barrier Rd.
 Concord, NC 28025
 Gary J.                                                         Wages                                                                                                      $1,100.00
 Plattenberger
 5822 Will Plyler Rd.
 Waxhaw, NC 28173
 IRS                                                             8.890 acres 70     Contingent                   $1,619,071.52                $910,000.00             $1,619,071.52
 PO Box 7346                                                     Pitts School Road,
 Philadelphia, PA                                                Concord, NC
 19101-7346                                                      15,900 sq. ft.
                                                                 building built in
                                                                 1989
                                                                 Appraisal 1/15/19
                                                                 Liquidation value
                                                                 $910,000
                                                                 Tax value $1,147,



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                               Case 19-50417               Doc 1         Filed 04/23/19                Page 7 of 52


 Debtor    Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                              Case number (if known)
           Equipment, Inc.
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IRS                                                             8.890 acres 70     Contingent                      $237,414.23               $910,000.00               $237,414.23
 PO Box 7346                                                     Pitts School Road,
 Philadelphia, PA                                                Concord, NC
 19101-7346                                                      15,900 sq. ft.
                                                                 building built in
                                                                 1989
                                                                 Appraisal 1/15/19
                                                                 Liquidation value
                                                                 $910,000
                                                                 Tax value $1,147,
 IRS                                                             8.890 acres 70     Contingent                      $237,782.00               $910,000.00               $161,419.45
 PO Box 7346                                                     Pitts School Road,
 Philadelphia, PA                                                Concord, NC
 19101-7346                                                      15,900 sq. ft.
                                                                 building built in
                                                                 1989
                                                                 Appraisal 1/15/19
                                                                 Liquidation value
                                                                 $910,000
                                                                 Tax value $1,147,
 Jack E. Gross                                                   Wages                                                                                                        $344.38
 3754 Fieldcrest
 Circle
 Concord, NC 28027
 Kyle A. Ashleman                                                Wages                                                                                                        $355.25
 2930 Planer Terrace
 Gastonia, NC 28054
 Lime Energy                                                     Utility                                                                                                    $6,699.05
 4 Gateway Center,
 4th Floor
 100 Mulberry St.
 Newark, NJ 07102
 National Liability &                                            Worker's comp                                                                                              $5,087.61
 Fire                                                            insurance
 P.O. Box 113247
 Stamford, CT
 06911-3247
 NC Department of                                                8.890 acres 70                                     $525,532.39               $910,000.00               $525,532.39
 Revenue                                                         Pitts School Road,
 Bankruptcy Unit                                                 Concord, NC
 PO Box 1168                                                     15,900 sq. ft.
 Raleigh, NC 27602                                               building built in
                                                                 1989
                                                                 Appraisal 1/15/19
                                                                 Liquidation value
                                                                 $910,000
                                                                 Tax value $1,147,




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                              Case number (if known)
           Equipment, Inc.
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NC Department of                                                8.890 acres 70                                     $345,685.54               $910,000.00               $345,685.54
 Revenue                                                         Pitts School Road,
 Bankruptcy Unit                                                 Concord, NC
 PO Box 1168                                                     15,900 sq. ft.
 Raleigh, NC 27602                                               building built in
                                                                 1989
                                                                 Appraisal 1/15/19
                                                                 Liquidation value
                                                                 $910,000
                                                                 Tax value $1,147,
 Standard Insurance                                              Long and                                                                                                     $698.96
 Company                                                         short-term
 521 E Morehead St #                                             disability
 425                                                             insurance
 Charlotte, NC 28202
 UPS Freight                                                     Mail service                                                                                                 $500.00
 5204 N Graham St
 Charlotte, NC 28269
 US Capital                                                      Cargo insurance                                                                                            $2,467.12
 Insurance Co.
 564 Market St.
 Suite 700
 San Francisco, CA
 94104
 Wallace C. Wright                                               Wages                                                                                                        $408.61
 5208 Teakwood Dr.
 Kannapolis, NC
 28083




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                  Case 19-50417                            Doc 1               Filed 04/23/19                         Page 9 of 52
 Fill in this information to identify the case:

 Debtor name            Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           910,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           270,685.09

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,180,685.09


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,799,123.13


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              6,452.17

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            16,052.74


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,821,628.04




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                        Case 19-50417                Doc 1      Filed 04/23/19       Page 10 of 52
 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $1,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                   Fifth Third Bank
           3.1.    Paypal account                                           Checking                        1803                                     $1,033.34



                   Fifth Third Bank
           3.2.    Operating account                                        Checking                        1635                                    $13,148.00



                   Fifth Third
           3.3.    Payroll Account                                          Checking                        5917                                     $6,283.49



 4.        Other cash equivalents (Identify all)


           4.1.    Amazon Online                                                                                                                         $22.78




           4.2.    PayPal on-line balance                                                                                                            $1,610.28




 5.        Total of Part 1.                                                                                                                     $23,097.89
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
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                                        Case 19-50417                 Doc 1        Filed 04/23/19            Page 11 of 52

 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                              Case number (If known)
                Equipment, Inc.
                Name



 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            116,822.54    -                                   0.00 = ....                $116,822.54
                                              face amount                            doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                              $116,822.54
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last            Net book value of         Valuation method used   Current value of
                                                      physical inventory          debtor's interest         for current value       debtor's interest
                                                                                  (Where available)

 19.       Raw materials
           Sheet metal,
           nails/screws, foam, vinyl                                                             $0.00      Liquidation                           $500.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Race car seats, steering
           wheels, seat cushions,
           seat belts, head
           supports, helmets, seat
           support kits, air
           management systems                                                               Unknown         Comparable sale                   $75,000.00



 22.       Other inventory or supplies




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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                                        Case 19-50417                   Doc 1      Filed 04/23/19        Page 12 of 52

 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                            Case number (If known)
                Equipment, Inc.
                Name


 23.       Total of Part 5.                                                                                                           $75,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Metal cabinet $15
           Metal cabinet $15
           Metal 6' 2 door cabinet $30
           Metal 42" 2 door cabinet $25
           4 drawer file cabinet legal $25
           2 drawer file cabinet letter $20
           4 drawer file cabinet letter $25
           4 drawer file cabinet legal $25
           6' 2 door black metal cabinet $25
           3 4 drawer cabinets legal $75
           11 4 drawer cabinets letter $225
           2 drawer legal cabinets $20
           4 drawer file cabinet letter $75
           2 wooden file storage cabinets $80
           4 drawer file cabinet $209.99                                                     $889.99    Tax records                           $889.99


           8 desks                                                                           $200.00    Tax records                           $200.00


           7 chairs                                                                           $70.00    Tax records                             $70.00


           33 metal pallet racks                                                           $3,380.00    Liquidation                         $1,650.00


           2 Credenzas                                                                       $150.00    Liquidation                             $40.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                         Case number (If known)
                Equipment, Inc.
                Name




 40.       Office fixtures
           Refrigerator                                                                    $75.00    Tax records                             $75.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Sage 2015 Accounting software, 2014 PC Intel
           Core i5-4440 Haswell 3.1, 2013 Lenovo laptop,
           HP Laser Jet printer, PC server, Monitor KDS,
           HP laser jet printer, Canon fax/printer, 4 PCs, 6
           monitors, Canon PC 920 copier, Dell laptop,
           Canon Imageclass Copier/printer, Kyocera
           TASKalfa 4550ci, Dell Ultrasharp monitor,
           Lenovo ThinkCentre M800                                                      $1,417.65    Tax records                         $1,417.65


           Fellowes power shredder $75 in 2013, Fellows
           power shredder $20 in 2013, 2 shredders                                         $90.00    Liquidation                             $30.00


           6 Adding machines                                                               $45.00    Tax records                             $45.00


           Sharp XE-A102 Cash Register                                                     $25.00    Liquidation                             $10.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $4,427.64
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2002 GMC Van
                     138k miles
                     NADA rough trade $1,750                                                $0.00    Liquidation                         $1,750.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                        Case number (If known)
                Equipment, Inc.
                Name

           47.2.     2010 Lexus SUV
                     144k miles
                     NADA rough-trade $12,800                                               $0.00    Liquidation         $12,800.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           3 Miller Dynasty 350 TigRunner Welders 2014                                  $1,004.04    Tax records           $1,004.04


           2 molds for 1/2" black shoulder support 2014                                    $69.62    Tax records               $69.62


           Heavy Duty 6"x48" 12" Combo Safe 2014                                           $89.69    Tax records               $89.69


           Ladder 8ft.                                                                     $20.00    Liquidation               $10.00


           7 parts shelves                                                                 $70.00    Tax records               $70.00


           2 pneumatic staples                                                           $120.00     Liquidation               $40.00


           Banding kit - plastic                                                           $60.00    Liquidation               $10.00


           8 metal pallet racks                                                          $800.00     Liquidation             $400.00


           13" TV                                                                          $10.00    Tax records               $10.00


            Miller Dynasty 350 TIG Welders                                              $3,000.00    Liquidation           $1,000.00


           5 steel welding tables                                                        $500.00     Liquidation             $250.00


           Kaeser Air Compressor                                                        $2,500.00    Liquidation           $1,000.00


           3 Petyo/Roper Whitney Sheet Metal
           Fabricators                                                                  $1,200.00    Liquidation             $400.00


           Large shop fan                                                                $100.00     Liquidation               $25.00


           2 VBS 900 Vertical Band Saws                                                 $2,000.00    Liquidation             $500.00


           Roper Whitney Foot Shear                                                     $1,500.00    Liquidation             $375.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                 page 5
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 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                        Case number (If known)
                Equipment, Inc.
                Name

           Hossfeld Tube Bender                                                         $1,500.00    Liquidation             $375.00


           Roper Whitney 6' Power Shear                                                 $4,000.00    Liquidation           $1,000.00


           5 steel layout/fab tables                                                     $500.00     Liquidation             $125.00


           Roper Whitney 5' manual brake                                                 $800.00     Liquidation             $200.00


           Grab vertical band saw                                                       $3,500.00    Liquidation           $1,000.00


           Jet VBS 500 vertical band saw                                                 $500.00     Liquidation             $125.00


           Misc. tools, vices, work tables                                               $500.00     Liquidation             $125.00


           Roper Whitney 3' finger brake                                                 $600.00     Liquidation             $175.00


           Rotex 3725 manual torret punch                                               $4,500.00    Liquidation           $1,000.00


           Whitney Jensen 1 3/4" manual punch                                            $200.00     Liquidation               $50.00


           Chicago D&K 10' CNC electric mechanical
           press brake                                                                  $5,000.00    Liquidation           $1,000.00


           Misc press brake tooling                                                     $2,000.00    Liquidation             $500.00


           Grizzly 6x48 belt sander                                                      $500.00     Liquidation             $125.00


           Grizzly double end belt sander                                                $300.00     Liquidation               $75.00


           Westwood 10' CNC Plasma Cutter                                             $45,000.00     Liquidation         $12,500.00


           Miller CP200 wire welder                                                     $1,500.00    Liquidation             $375.00


           Marvel horizontal band saw                                                    $300.00     Liquidation               $75.00


           Hyster forklift                                                              $1,500.00    Liquidation             $375.00


           Grizzly belt sander                                                           $350.00     Liquidation             $100.00


           2 Jet 6x48 belt sanders                                                       $600.00     Liquidation             $150.00


           3 Sewing machines - Juki Cousew                                              $1,250.00    Liquidation             $350.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                 page 6
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 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                         Case number (If known)
                Equipment, Inc.
                Name



           Misc tools for shop, drills, clamps                                            $200.00    Liquidation                              $50.00


           Victor 16x40 engine lathe                                                    $3,500.00    Liquidation                            $875.00


           Misc lathe tooling                                                             $500.00    Liquidation                            $125.00


           Alliant vertical milling machine                                             $4,500.00    Liquidation                          $1,125.00


           Misc milling tooling                                                         $1,000.00    Liquidation                            $250.00


           OTC 30 hydraulic press                                                       $1,000.00    Liquidation                            $250.00


           17 - misc cabinets, tables, storage, sheves                                $25,500.00     Liquidation                          $6,375.00


           Osy-acetylene torch set                                                        $250.00    Liquidation                              $62.50


           2012 welder with attachments                                                 $5,913.95    Liquidation                          $1,478.25


           Powermatic Model 81 saw                                                          $0.00    Liquidation                            $100.00


           Mold for rear head foam, mold for L/S short
           head foam, mold for L/S Std length head foam,
           mold for R/S head form                                                           $0.00    Liquidation                            $450.00


           Alum channel extrusion 6063-T5                                                 $371.68    Liquidation                              $92.92



 51.       Total of Part 8.                                                                                                          $50,837.02
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 7
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 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                           Case number (If known)
                Equipment, Inc.
                Name

            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 8.890 acres 70 Pitts
                     School Road,
                     Concord, NC
                     15,900 sq. ft. building
                     built in 1989
                     Appraisal 1/15/19
                     Liquidation value
                     $910,000
                     Tax value $1,147,520                 Fee simple                          $0.00    Appraisal                        $910,000.00




 56.        Total of Part 9.                                                                                                         $910,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                 Net book value of      Valuation method used   Current value of
                                                                                debtor's interest      for current value       debtor's interest
                                                                                (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Butler Built trademark                                                            $0.00                                        Unknown



 61.        Internet domain names and websites
            butlerbuilt.net                                                                   $0.00                                              $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 8
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 Debtor         Butler Specialties, Inc., T/A Butlerbuilt Motorsports                        Case number (If known)
                Equipment, Inc.
                Name


               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                 page 9
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 Debtor          Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                               Case number (If known)
                 Equipment, Inc.
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                      Current value of real
                                                                                                     personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $23,097.89

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $116,822.54

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $75,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $4,427.64

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $50,837.02

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $910,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $270,685.09             + 91b.              $910,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $1,180,685.09




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 10
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91C (09/13)
                                           UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                )
Butler Specialties, Inc., T/A Butlerbuilt Motorsports            )       Case No.
Equipment, Inc.
                                                                 )
                                                                 )       DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
                                                                 )
                                         Debtor.                 )

I, Brian T. Butler , the undersigned debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. § 522(b)(3)(A),
(B), and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

                 Check if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property that the
              debtor or a dependent of the debtor uses as a residence.

1.       REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
         BURIAL PLOT. (NCGS 1C-1601(a)(1)).
         Select appropriate exemption amount below:
                  Total net value not to exceed $35,000.
                  Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously
                  owned by debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
                  deceased.)

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                    Net
Property & Address                              Value      Holder(s)                                   or Lien                  Value
-NONE-

                            (a) Total Net Value                                                  $                       0.00
                            Total Net Exemption                                                  $                       0.00
                            (b) Unused portion of exemption, not to exceed $5,000.               $                   5,000.00
                            (This amount, if any, may be carried forward and used to claim
                            an exemption in any property owned by the debtor. (NCGS
                            1C-1601(a)(2)).

2.       TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B) and
         the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                    Net
Property & Address                              Value      Holder(s)                                   or Lien                  Value
-NONE-

3.       MOTOR VEHICLE. (NCGS 1C-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
         exempt not to exceed $3,500.)

Year, Make,                                    Market                                                                             Net
Model of Auto                                   Value      Lien Holder(s)                            Amt. Lien                  Value
-NONE-

(a) Statutory allowance                                                   $                  3,500
(b) Amount from 1 (b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)                       $

                                                   Total Net Exemption    $                   0.00

4.       TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. (NCGS 1C-1601(a)(5). Used by debtor or
         debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                                               Market                                                                             Net
Description                                     Value      Lien Holder(s)                            Amt. Lien                  Value
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                                                                    Market                                                                     Net
 Description                                                         Value    Lien Holder(s)                   Amt. Lien                     Value
 -NONE-

 (a) Statutory allowance                                                                    $          2,000
 (b) Amount from 1 (b) above to be used in this paragraph.
     (A part or all of 1 (b) may be used as needed.)                                        $

                                                                      Total Net Exemption   $           0.00

5.          PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
            DEBTOR'S DEPENDENTS. (NCGS 1C-1601(a)(4). Debtor's aggregate interest, not to exceed $5,000 in value for the
            debtor plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents.)

                                                                    Market                                                                     Net
 Description                                                         Value    Lien Holder(s)                   Amt. Lien                     Value
 -NONE-

                                                                                                       Total Net Value                          0.00

 (a) Statutory allowance for debtor                                                            $       5,000
 (b) Statutory allowance for debtor's dependents: 0 dependents at
 $1,000 each (not to exceed $4,000 total for dependents)                                                0.00
 (c) Amount from 1(b) above to be used in this paragraph.
     (A part or all of 1 (b) may be used as needed.)

                                                                                                   Total Net Exemption                          0.00

6.          LIFE INSURANCE. (As provided in Article X, Section 5 of North Carolina Constitution.)

           Name of Insurance Company\Policy No.\Name of Insured\Policy Date\Name of Beneficiary
           -NONE-

7.          PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS). (NCGS
            1C-1601(a)(7). No limit on value or number of items.)

           Description:
           -NONE-

8.          DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS 1C-1601(a)(8). No limit on number or
            amount.)

           A. $                 -NONE- Compensation for personal injury to debtor or to person whom debtor was dependent for support.
           B. $                 -NONE- Compensation for death of person of whom debtor was dependent for support.
           C. $                 -NONE- Compensation from private disability policies or annuities.

9.          INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN
            TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
            REVENUE CODE. (NCGS 1C-1601(a)(9). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
            DEFINED IN 11 U.S.C. § 522(b)(3)(c).

           Detailed Description                                                                                            Value
           -NONE-

10.         COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
            (NCGS 1C-1601(a)(10). Total net value not to exceed $25,000 and may not include any funds placed in a college saving
            plan within the preceding 12 months not in the ordinary course of the debtor's financial affairs. This exemption applies only
            to the extent that the funds are for a child of the debtor and will actually be used for the child's college or university
            expenses.)

           Detailed Description                                                                                            Value
           -NONE-
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91C (09/13)

11.         RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
            UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
            THAT STATE OR GOVERNMENTAL UNIT. (NCGS 1C-1601(a)(11). No limit on amount.)

           Description:
           -NONE-

12.         ALIMONY, SUPPORT, SEPARATION MAINTENANCE AND CHILD SUPPORT. (NCGS 1C-1601(a)(12). No limit
            on amount to the extent such payments are reasonably necessary for the support of Debtor or dependent of Debtor.)

           Description:
           -NONE-

13.         ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT THAT
            HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-1601(a)(2). The amount claimed may not exceed the
            remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                                                    Market                                                                      Net
 Description                                                         Value   Lien Holder(s)                          Amt. Lien                Value
 -NONE-

 (a) Total Net Value of property claimed in paragraph 13.                                                        $                   0.00

 (b) Total amount available from paragraph 1(b).                                                                 $               5,000.00
 (c) Less amounts from paragraph 1(b) which were used in the following paragraphs:
                                      Paragraph 3(b)               $
                                      Paragraph 4(b)               $
                                       Paragraph 5(c)              $
                                                 Net Balance Available from paragraph 1(b)                       $               5,000.00
                                                                      Total Net Exemption                        $

14.         OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

       -NONE-
       TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                                            $                    0.00

15.         EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

       -NONE-
       TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                                            $                    0.00

16. RECENT PURCHASES

The exemptions provided in NCGS 1C-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition for
bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may be exempt
and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the debtor less than 90 days preceding the filing of the bankruptcy petition:
                                               Market                                                                                           Net
Description                                      Value Lien Holder(s)                                 Amt. Lien                               Value
 -NONE-

 DATE April 23, 2019                                                                /s/ Brian T. Butler
                                                                                    Brian T. Butler
                                                                                    Debtor




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 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1   IRS                                            Describe debtor's property that is subject to a lien                    $833,637.45               $910,000.00
       Creditor's Name                                8.890 acres 70 Pitts School Road, Concord,
                                                      NC
                                                      15,900 sq. ft. building built in 1989
                                                      Appraisal 1/15/19
       PO Box 7346                                    Liquidation value $910,000
       Philadelphia, PA                               Tax value $1,147,520
       19101-7346
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien 15 M 361
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/27/15                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. IRS
       2. IRS
       3. IRS
       4. IRS
       5. NC Department of
       Revenue
       6. NC Department of
       Revenue

 2.2   IRS                                            Describe debtor's property that is subject to a lien                    $237,782.00               $910,000.00
       Creditor's Name                                8.890 acres 70 Pitts School Road, Concord,
                                                      NC
                                                      15,900 sq. ft. building built in 1989
                                                      Appraisal 1/15/19
       PO Box 7346                                    Liquidation value $910,000
       Philadelphia, PA                               Tax value $1,147,520
       19101-7346
       Creditor's mailing address                     Describe the lien

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 4
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                          Case number (if know)
              Name

                                                      Judgment 15 M 362
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/27/15                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.3   IRS                                            Describe debtor's property that is subject to a lien                 $1,619,071.52     $910,000.00
       Creditor's Name                                8.890 acres 70 Pitts School Road, Concord,
                                                      NC
                                                      15,900 sq. ft. building built in 1989
                                                      Appraisal 1/15/19
       PO Box 7346                                    Liquidation value $910,000
       Philadelphia, PA                               Tax value $1,147,520
       19101-7346
       Creditor's mailing address                     Describe the lien
                                                      Judgment 15 M 467
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/8/15                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.4   IRS                                            Describe debtor's property that is subject to a lien                     $237,414.23   $910,000.00
       Creditor's Name                                8.890 acres 70 Pitts School Road, Concord,
                                                      NC
                                                      15,900 sq. ft. building built in 1989
                                                      Appraisal 1/15/19
       PO Box 7346                                    Liquidation value $910,000
       Philadelphia, PA                               Tax value $1,147,520
       19101-7346
       Creditor's mailing address                     Describe the lien
                                                      Judgment 15 M 695
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9815                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 4
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                          Case number (if know)
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.5   NC Department of Revenue                       Describe debtor's property that is subject to a lien                     $525,532.39   $910,000.00
       Creditor's Name                                8.890 acres 70 Pitts School Road, Concord,
                                                      NC
                                                      15,900 sq. ft. building built in 1989
                                                      Appraisal 1/15/19
       Bankruptcy Unit                                Liquidation value $910,000
       PO Box 1168                                    Tax value $1,147,520
       Raleigh, NC 27602
       Creditor's mailing address                     Describe the lien
                                                      Judgment 17 M 949
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/18/17                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.6   NC Department of Revenue                       Describe debtor's property that is subject to a lien                     $345,685.54   $910,000.00
       Creditor's Name                                8.890 acres 70 Pitts School Road, Concord,
                                                      NC
                                                      15,900 sq. ft. building built in 1989
                                                      Appraisal 1/15/19
       Bankruptcy Unit                                Liquidation value $910,000
       PO Box 1168                                    Tax value $1,147,520
       Raleigh, NC 27602
       Creditor's mailing address                     Describe the lien
                                                      Judgment 17 M 950
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/18/17                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 4
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                    Case number (if know)
              Name

                                                                                                                         $3,799,123.1
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    3

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                             $290.00          $290.00
           Amber N. Debevec                                          Check all that apply.
           36 Douglas Ave. NW                                           Contingent
           Concord, NC 28025                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           April 2019                                                Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                             $400.20          $400.20
           Bobby D. Hall                                             Check all that apply.
           6331 Kluttz Rd.                                              Contingent
           Concord, NC 28025                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           April 2019                                                Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 8
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                                 Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,100.00    $1,100.00
          Brian T. Butler                                            Check all that apply.
          5315 Kim St. SW                                               Contingent
          Concord, NC 28027                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Cabarrus County Tax Collector                              Check all that apply.
          PO Box 707                                                    Contingent
          Concord, NC 28026-0707                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $360.00     $360.00
          Christopher A. Ferguson                                    Check all that apply.
          106 Dawn Dr.                                                  Contingent
          Mount Holly, NC 28120                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          City of Concord                                            Check all that apply.
          35 Cabarrus Ave W                                             Contingent
          Concord, NC 28025                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 8
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                                 Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00    $0.00
          Credit Bureau                                              Check all that apply.
          ATTN: Officer or Managing Agent                               Contingent
          PO Box 26140                                                  Unliquidated
          Greensboro, NC 27402-6140                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $440.00    $440.00
          Darrell E. Laney                                           Check all that apply.
          2416 Community Park Dr.                                       Contingent
          Matthews, NC 28104                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $308.85    $308.85
          Debbie L. Helms                                            Check all that apply.
          5315 Kim St. SW                                               Contingent
          Concord, NC 28027                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00    $0.00
          Employment Security Commission                             Check all that apply.
          PO Box 26504                                                  Contingent
          Raleigh, NC 27611-6504                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 8
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                                 Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $348.00     $348.00
          Eric T. Speas                                              Check all that apply.
          4188 Barrier Rd.                                              Contingent
          Concord, NC 28025                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,100.00    $1,100.00
          Gary J. Plattenberger                                      Check all that apply.
          5822 Will Plyler Rd.                                          Contingent
          Waxhaw, NC 28173                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $344.38     $344.38
          Jack E. Gross                                              Check all that apply.
          3754 Fieldcrest Circle                                        Contingent
          Concord, NC 28027                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $268.25     $268.25
          Jason S. Dease                                             Check all that apply.
          4000 Feather Street                                           Contingent
          Concord, NC 28025                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                                 Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $355.25    $355.25
          Kyle A. Ashleman                                           Check all that apply.
          2930 Planer Terrace                                           Contingent
          Gastonia, NC 28054                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $290.00    $290.00
          Michael E. Nelson                                          Check all that apply.
          2235 North Enochville Ave.                                    Contingent
          Mooresville, NC 28115                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00    $0.00
          Romney D. Sellers                                          Check all that apply.
          6414 Mooresville Rd.                                          Contingent
          Kannapolis, NC 28081                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          April 2019                                                 Out on short-term leave
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $174.00    $174.00
          Spencer R. Knight                                          Check all that apply.
          7702 Jenny Ann Dr.                                            Contingent
          Charlotte, NC 28216                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2019                                                 Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 8
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               Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor        Equipment, Inc.                                                                                Case number (if known)
               Name

 2.19       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $264.63    $264.63
            Steven G. Intravaia                                      Check all that apply.
            814 Laurel Street                                           Contingent
            China Grove, NC 28023                                       Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            April 2019                                               Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $408.61    $408.61
            Wallace C. Wright                                        Check all that apply.
            5208 Teakwood Dr.                                           Contingent
            Kannapolis, NC 28083                                        Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            April 2019                                               Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Benfield Sanitation                                                         Contingent
           282 Scotts Creek Rd                                                         Unliquidated
           Statesville, NC 28625                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Utility
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Duke Energy                                                                 Contingent
           PO Box 1245 DT01X                                                           Unliquidated
           Charlotte, NC 28201-1245                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Utility
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $250.00
           Federal Express                                                             Contingent
           PO Box 332                                                                  Unliquidated
           Memphis, TN 38194-4741                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Mail service
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                         Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,699.05
          Lime Energy                                                           Contingent
          4 Gateway Center, 4th Floor                                           Unliquidated
          100 Mulberry St.                                                      Disputed
          Newark, NJ 07102
                                                                             Basis for the claim:    Utility
          Date(s) debt was incurred 2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,087.61
          National Liability & Fire                                             Contingent
          P.O. Box 113247                                                       Unliquidated
          Stamford, CT 06911-3247                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Worker's comp insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          PSNC                                                                  Contingent
          Recovery Speacialist                                                  Unliquidated
          PO Box 60553                                                          Disputed
          Oklahoma City, OK 73196
                                                                             Basis for the claim:    Utility
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Quench Water                                                          Contingent
          630 Allendale Road, Suite 200                                         Unliquidated
          King of Prussia, PA 19406                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water cooler
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $698.96
          Standard Insurance Company                                            Contingent
          521 E Morehead St # 425                                               Unliquidated
          Charlotte, NC 28202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Long and short-term disability insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          United States Postal Service
          Attn: Receivable Section                                              Contingent
          Accounting Service Center                                             Unliquidated
          2825 Lone Oak Pkwy                                                    Disputed
          Saint Paul, MN 55121-9612
                                                                             Basis for the claim:    Mail services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          UPS Freight                                                           Contingent
          5204 N Graham St                                                      Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Mail service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 7 of 8
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              Butler Specialties, Inc., T/A Butlerbuilt Motorsports
 Debtor       Equipment, Inc.                                                                         Case number (if known)
              Name

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $2,467.12
           US Capital Insurance Co.                                             Contingent
           564 Market St.                                                       Unliquidated
           Suite 700                                                            Disputed
           San Francisco, CA 94104
                                                                             Basis for the claim:    Cargo insurance
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Windstream                                                           Contingent
           1720 Galleria Blvd.                                                  Unliquidated
           Charlotte, NC 28270                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                      related creditor (if any) listed?                  account number, if
                                                                                                                                                         any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                          6,452.17
 5b. Total claims from Part 2                                                                            5b.   +    $                         16,052.74

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              22,504.91




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Lease on welding
              lease is for and the nature of              cylinders
              the debtor's interest

                  State the term remaining
                                                                                      Airgas USA, LLC
              List the contract number of any                                         PO Box 9249
                    government contract                                               Marietta, GA 30065-2249


 2.2.         State what the contract or                  Offer in Compromise
              lease is for and the nature of              entered on or about
              the debtor's interest                       5/2017
                                                          Balance due 4/28/2019
                                                          $1,466,000.00
                  State the term remaining
                                                                                      Internal Revenue Service
              List the contract number of any                                         PO Box 7346
                    government contract                                               Philadelphia, PA 19101-7346


 2.3.         State what the contract or                  Worker's compensation
              lease is for and the nature of              policy for business.
              the debtor's interest

                  State the term remaining
                                                                                      National Liability & Fire
              List the contract number of any                                         P.O. Box 113247
                    government contract                                               Stamford, CT 06911-3247


 2.4.         State what the contract or                  Kyocera TASKalfa
              lease is for and the nature of              4550ci
              the debtor's interest

                  State the term remaining
                                                                                      Oak Pointe Leasing Corporation
              List the contract number of any                                         3330 Monroe Rd.
                    government contract                                               Charlotte, NC 28205




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                        Case 19-50417                Doc 1     Filed 04/23/19      Page 36 of 52
 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                             $2,093,614.81
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $776,392.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Cabarrus County Tax Collector                               2/12/19                          $15,263.05           Secured debt
               Box 707                                                                                                           Unsecured loan repayments
               Concord, NC 28026                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Real property taxes
                                                                                                                               2018

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                     Case number (if known)
              Equipment, Inc.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.2.
               Blue Cross Blue Sheild                                      2/27/19                            $8,077.89               Secured debt
               c/o Rawlings Financial Services LLC                                                                                    Unsecured loan repayments
               Pharmacy Division                                                                                                      Suppliers or vendors
               PO Box 2020
                                                                                                                                      Services
               La Grange, KY 40031
                                                                                                                                      Other Health insurance
                                                                                                                                 premiums

       3.3.
               BSCI Inc.                                                   3/14/19                            $6,198.00               Secured debt
               170 Barley Park Lane                                                                                                   Unsecured loan repayments
               Mooresville, NC 28115
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               Blue Cross Blue Sheild                                      3/27/19                            $7,125.22               Secured debt
               c/o Rawlings Financial Services LLC                                                                                    Unsecured loan repayments
               Pharmacy Division                                                                                                      Suppliers or vendors
               PO Box 2020                                                                                                            Services
               La Grange, KY 40031
                                                                                                                                   Other Health insurance
                                                                                                                                 premiums

       3.5.
               Potter & Company                                            3/29/19                            $7,800.00               Secured debt
               434 Copperfield Blvd NE # A                                                                                            Unsecured loan repayments
               Concord, NC 28025                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Tax preparation


       3.6.
               BSCI Inc.                                                   4/5/19                             $6,492.50               Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor      Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                          Case number (if known)
             Equipment, Inc.

    of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
    debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                     Case number (if known)
               Equipment, Inc.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.                                                                                                                   1/28/19
                 Nardone Law, PLLC                                                                                             $10,000
                 PO Box 1394                                                                                                   4/1/19
                 Concord, NC 28026                                                                                             $10,000              $20,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value
       13.1                                                      2010 Volvo XC60 82k miles
       .    Lindsay M. Sheheen
                1109 Littleton St.                               Payoff to MidCarolina Credit Union
                Camden, SC 29020                                 exceeded the sale price                                 6/12/17                    $11,500.00

                Relationship to debtor
                None


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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 Debtor      Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                      Case number (if known)
             Equipment, Inc.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Goldleaf Partners                                                                          EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
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 Debtor      Butler Specialties, Inc., T/A Butlerbuilt Motorsports                                      Case number (if known)
             Equipment, Inc.

    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.


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             Equipment, Inc.


              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation



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             Equipment, Inc.


 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 23, 2019

 /s/ Brian T. Butler                                                    Brian T. Butler
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Middle District of North Carolina
 In re       Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc.                            Case No.
                                                                    Debtor(s)                                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor(s) in any dischargeability actions, actions brought pursuant to Section 707 of the
               Bankruptcy Code, or any other adversary proceeding.

                   Attorney for the debtor(s) has a fee contract with the debtor(s) setting forth the full terms and limitation of said
                   attorney's representation. Said contract may be produced to the Court at an appropriate time. All limitations and
                   exclusions of attorney's representation are not listed herein on the Disclosure of Compensation.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 23, 2019                                                                /s/ Kristen Nardone
     Date                                                                          Kristen Nardone 28063
                                                                                   Signature of Attorney
                                                                                   Nardone Law, PLLC
                                                                                   241 Curch St. NE
                                                                                   Concord, NC 28025
                                                                                   704-784-9440 Fax: 980-781-5867
                                                                                   kristen@davisnardone.com
                                                                                   Name of law firm




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                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 23, 2019                                                           Signature /s/ Brian T. Butler
                                                                                            Brian T. Butler

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 23, 2019                                               /s/ Brian T. Butler
                                                                          Brian T. Butler/President
                                                                          Signer/Title

 Date: April 23, 2019                                                     /s/ Kristen Nardone
                                                                          Signature of Attorney
                                                                          Kristen Nardone 28063
                                                                          Nardone Law, PLLC
                                                                          241 Curch St. NE
                                                                          Concord, NC 28025
                                                                          704-784-9440 Fax: 980-781-5867




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          Airgas USA, LLC
          PO Box 9249
          Marietta, GA 30065-2249


          Amber N. Debevec
          36 Douglas Ave. NW
          Concord, NC 28025


          Benfield Sanitation
          282 Scotts Creek Rd
          Statesville, NC 28625


          Bobby D. Hall
          6331 Kluttz Rd.
          Concord, NC 28025


          Brian T. Butler
          5315 Kim St. SW
          Concord, NC 28027


          Cabarrus County Tax Collector
          PO Box 707
          Concord, NC 28026-0707


          Christopher A. Ferguson
          106 Dawn Dr.
          Mount Holly, NC 28120


          City of Concord
          35 Cabarrus Ave W
          Concord, NC 28025


          Credit Bureau
          ATTN: Officer or Managing Agent
          PO Box 26140
          Greensboro, NC 27402-6140


          Darrell E. Laney
          2416 Community Park Dr.
          Matthews, NC 28104


          Debbie L. Helms
          5315 Kim St. SW
          Concord, NC 28027
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      Duke Energy
      PO Box 1245 DT01X
      Charlotte, NC 28201-1245


      Employment Security Commission
      PO Box 26504
      Raleigh, NC 27611-6504


      Eric T. Speas
      4188 Barrier Rd.
      Concord, NC 28025


      Federal Express
      PO Box 332
      Memphis, TN 38194-4741


      Gary J. Plattenberger
      5822 Will Plyler Rd.
      Waxhaw, NC 28173


      Internal Revenue Service
      PO Box 7346
      Philadelphia, PA 19101-7346


      IRS
      PO Box 7346
      Philadelphia, PA 19101-7346


      Jack E. Gross
      3754 Fieldcrest Circle
      Concord, NC 28027


      Jason S. Dease
      4000 Feather Street
      Concord, NC 28025


      Kyle A. Ashleman
      2930 Planer Terrace
      Gastonia, NC 28054


      Lime Energy
      4 Gateway Center, 4th Floor
      100 Mulberry St.
      Newark, NJ 07102
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      Michael E. Nelson
      2235 North Enochville Ave.
      Mooresville, NC 28115


      National Liability & Fire
      P.O. Box 113247
      Stamford, CT 06911-3247


      NC Department of Revenue
      Bankruptcy Unit
      PO Box 1168
      Raleigh, NC 27602


      Oak Pointe Leasing Corporation
      3330 Monroe Rd.
      Charlotte, NC 28205


      PSNC
      Recovery Speacialist
      PO Box 60553
      Oklahoma City, OK 73196


      Quench Water
      630 Allendale Road, Suite 200
      King of Prussia, PA 19406


      Romney D. Sellers
      6414 Mooresville Rd.
      Kannapolis, NC 28081


      Spencer R. Knight
      7702 Jenny Ann Dr.
      Charlotte, NC 28216


      Standard Insurance Company
      521 E Morehead St # 425
      Charlotte, NC 28202


      Steven G. Intravaia
      814 Laurel Street
      China Grove, NC 28023
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      United States Postal Service
      Attn: Receivable Section
      Accounting Service Center
      2825 Lone Oak Pkwy
      Saint Paul, MN 55121-9612


      UPS Freight
      5204 N Graham St
      Charlotte, NC 28269


      US Capital Insurance Co.
      564 Market St.
      Suite 700
      San Francisco, CA 94104


      Wallace C. Wright
      5208 Teakwood Dr.
      Kannapolis, NC 28083


      Windstream
      1720 Galleria Blvd.
      Charlotte, NC 28270
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Butler Specialties, Inc., T/A Butlerbuilt Motorsports Equipment, Inc. in the above
captioned action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that
directly or indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no
entities to report under FRBP 7007.1:



    None [Check if applicable]




 April 23, 2019                                                         /s/ Kristen Nardone
 Date                                                                   Kristen Nardone 28063
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Butler Specialties, Inc., T/A Butlerbuilt Motorsports
                                                                                      Equipment, Inc.
                                                                        Nardone Law, PLLC
                                                                        241 Curch St. NE
                                                                        Concord, NC 28025
                                                                        704-784-9440 Fax:980-781-5867
                                                                        kristen@davisnardone.com




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